                             Case 19-80399                 Doc 136            Filed 05/05/21              Page 1 of 14




                                        UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF NORTH CAROLINA
                                                DURHAM DIVISION

In re:                                                                 §      Case No. 19-80399
                                                                       §
JOE SANDERFORD AND SON                                                 §
LOGGING, INC.                                                          §
                                                                       §
                                                                       §
                            Debtor

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 06/04/2019. The
        undersigned trustee was appointed on 06/04/2019.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                            $79,415.90

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                   $0.00
                          Administrative expenses                                                                                  $14,832.50
                          Bank service fees                                                                                           $295.07
                          Other Payments to creditors                                                                                   $0.00
                          Non-estate funds paid to 3rd Parties                                                                          $0.00
                          Exemptions paid to the debtor                                                                                 $0.00
                          Other payments to the debtor                                                                                  $0.00

                          Leaving a balance on hand of1                                                                            $64,288.33

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed pro
rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth under
11 U.S.C. § 326(a) on account of the disbursement of the additional interest.
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     6. The deadline for filing non-governmental claims in this case was ____________ and the
        deadline for filing government claims was ____________. All claims of each class which will
        receive a distribution have been examined and any objections to the allowance of claims have
        been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
        being made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $7,220.79. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $7,220.79,
for a total compensation of $7,220.792. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$333.36, for total expenses of $333.36.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 05/05/2021                                                         By:       /s/ James B. Angell
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).
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                                                                           FORM 1
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Exhibit A
                                                                  ASSET CASES
Case No.:                      19-80399                                                                  Trustee Name:                                James B. Angell - Middle District of N
Case Name:                     JOE SANDERFORD AND SON LOGGING, INC.                                      Date Filed (f) or Converted (c):             06/04/2019 (f)
For the Period Ending:         4/13/2021                                                                 §341(a) Meeting Date:                        06/28/2019
                                                                                                         Claims Bar Date:

                         1                             2                    3                        4                   5                  6               7                   8
                 Asset Description                 Petition/       Estimated Net Value            Property          Sales/Funds       Asset Fully         Lien              Exemption
                  (Scheduled and                 Unscheduled       (Value Determined              Abandoned         Received by      Administered        Amount              Amount
             Unscheduled (u) Property)              Value              by Trustee,          OA =§ 554(a) abandon.    the Estate         (FA) /
                                                                       Less Liens,                                                   Gross Value of
                                                                       Exemptions,                                                    Remaining
                                                                    and Other Costs)                                                    Assets
 Ref. #
1      2008 Pitt Trailer - Low                      $5,000.00            $15,120.00                           $15,120.00                         FA             $0.00               $0.00
       Bar
Asset Notes:     Order granting private sale to Tony Capps for $14,000 plus $1,120.00 buyers premium (Doc 65)
2         2014 Freightliner                                $0.00                   $0.00                                     $0.00               FA      $52,000.00                 $0.00
Asset Notes:      Lien Holder: Bank of Ozark
                  Order lifting stay entered at Doc 48
                  Removed as an asset per Amended A/B (DE 55)
3         1988 Dump Truck                              $500.00                  $1,000.00                              $1,000.00                 FA             $0.00               $0.00
Asset Notes:        Motion for Private Sale filed 5/14/2020 Doc 88; Order Granting Private Sale entered 6/17/2020 Doc 95 (Sale to Donald Joseph Sanderfor for
                    $1,000.00)


                 Scheduled as 1988 Dump Truck; Per Auctioneer Dump Truck is a 1998 with a blown engine
4      2012 Tigercat 720 E and                    $70,000.00                    $0.00                                        $0.00               FA     $110,000.00                 $0.00
       Tigercat Sawhead Cutter
Asset Notes:     Lien Holder: Direct Capital; Relief from stay granted per order at Doc 24
5         Skidder                                  $300,000.00                     $0.00                                     $0.00               FA     $300,000.00                 $0.00
Asset Notes:        Lien Holder: Falcon Leasing; Returned to Falcon after attempt to auction, no sale;
6         2014 Freightliner                                $0.00                   $0.00                                     $0.00               FA      $52,000.00                 $0.00
Asset Notes:       Lien Holder: Bank of Ozark; Order lifting stay entered at Doc 48
                   Removed as an asset per Amended A/B (DE 55)
7         5 Acre Lot/Building                     $60,000.00                $60,000.00                                $63,295.90                 FA             $0.00               $0.00
Asset Notes:        Order granting Motion to sell property at public sale (Doc 84); Property sold pursuant to sales agreement. Net proceeds of $63,295.90
                    received for asset 7 & 9. Payment recorded on asset 7.
8         Duplicate - Skidder                              $0.00                   $0.00                                    $0.00               FA              $0.00               $0.00
Asset Notes:        Lien Holder: Sumitomo Mitsui Finance & Leasing Co.; Relief from Stay granted at Doc 40
9         5 acre tract unimproved                    $20,000.00              $20,000.00                                      $0.00               FA             $0.00               $0.00
Asset Notes:     Order granting Motion to sell property at public sale (Doc 84); Property sold pursuant to sales agreement. Net proceeds of $63,295.90
                 received for asset 7 & 9. Payment recorded on asset 7.
10        2010 GMC Yukon                           $8,000.00                    $0.00                                    $0.00               FA      $95,000.00                     $0.00
Asset Notes:        Lien Holder: Capital Bank
11     Duplicate - 2012 Tigercat                       $0.00                 $0.00                                           $0.00               FA             $0.00               $0.00
       720 E and Tigercat
       Sawhead
Asset Notes:     Sumitoto Mitsui Finance; Relief from stay granted at Doc 40
12     (2) 2012 Freighliner                     $34,000.00                         $0.00                                     $0.00               FA      $36,000.00                 $0.00
       Cascadia trucks
Asset Notes:     Lien Holder: Bank of Ozark; Stay Lifted Pursuant to doc 40
13     2017 Tigercat 360 E                     $244,000.00              $84,500.00                                           $0.00               FA     $159,500.00                 $0.00
       Skidder
Asset Notes:    Sumitoto Mitsui Finance; Relief from stay granted at Doc 48
14        2015 Barko Loader                        $120,000.00                     $0.00                                     $0.00               FA     $162,750.00                 $0.00
Asset Notes:        Lienholder: Sumitomo Finance and Leasing Company; Order granting relief from stay at Doc 48
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                                                                       FORM 1
                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Exhibit A
                                                              ASSET CASES
Case No.:                    19-80399                                                           Trustee Name:                                  James B. Angell - Middle District of N
Case Name:                   JOE SANDERFORD AND SON LOGGING, INC.                               Date Filed (f) or Converted (c):               06/04/2019 (f)
For the Period Ending:       4/13/2021                                                          §341(a) Meeting Date:                          06/28/2019
                                                                                                Claims Bar Date:

                         1                        2                   3                     4                   5                  6                 7                  8
                 Asset Description            Petition/      Estimated Net Value         Property          Sales/Funds     Asset Fully             Lien             Exemption
                  (Scheduled and            Unscheduled      (Value Determined           Abandoned         Received by    Administered            Amount             Amount
             Unscheduled (u) Property)         Value             by Trustee,       OA =§ 554(a) abandon.    the Estate       (FA) /
                                                                 Less Liens,                                              Gross Value of
                                                                 Exemptions,                                               Remaining
                                                              and Other Costs)                                               Assets
TOTALS (Excluding unknown value)               $861,500.00           $180,620.00                             $79,415.90                $0.00     $967,250.00                $0.00




    Major Activities affecting case closing:
      THE TRUSTEE IS OBJECTING TO AN AMENDED CLAIM FILED BY SUMITOMO AND IS PREPARING TO CLOSE THE CASE .



      FOURTH INTERIM REPORT


Initial Projected Date Of Final Report (TFR):         12/31/2020                                                    /s/ JAMES B. ANGELL - MIDDLE
Current Projected Date Of Final Report (TFR):         03/31/2021                                                    DISTRICT  OF NC - MIDDLE DISTRICT
                                                                                                                    JAMES B. ANGELL
                                                                                                                    OF NC
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                                                                    FORM 2                                                                              Exhibit B
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          19-80399                                                                      Trustee Name:                           James B. Angell
Case Name:                        JOE SANDERFORD AND SON LOGGING, INC.                                          Bank Name:                              Independent Bank
Primary Taxpayer ID #:            **-***9284                                                                    Checking Acct #:                        ******0399
Co-Debtor Taxpayer ID #:                                                                                        Account Title:
For Period Beginning:             6/4/2019                                                                      Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                4/13/2021                                                                     Separate bond (if applicable):

       1                2                     3                                    4                                               5                6                    7

   Transaction       Check /             Paid to/                      Description of Transaction                Uniform         Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                             Tran Code          $               $


06/02/2020            (7)      BAIN & MCREA LLP            Payment pursuant to sales agreement                  1110-000         $63,295.90                           $63,295.90
                               TRUST ACCOUNT
06/19/2020            (3)      SANDERFORD                  SALE OF DUMP TRUCK                                   1229-000          $1,000.00                           $64,295.90
                               TRUCKING
07/09/2020           3001      Iron Horse Auction          Commission & expenses pursuant to                        *                             $7,500.00           $56,795.90
                               Company, Inc.               order doc 97
                                                                                           $(6,000.00)          3610-000                                              $56,795.90
                                                                                               $(1,500.00)      3620-000                                              $56,795.90
08/26/2020            (1)      IRON HORSE AUCTION                                                               1129-000         $15,120.00                           $71,915.90
                               COMPANY
08/31/2020                     Independent Bank            Account Analysis Charge                              2600-000                            $86.76            $71,829.14
09/30/2020                     Independent Bank            Account Analysis Charge                              2600-000                           $104.74            $71,724.40
10/12/2020           3002      Iron Horse Auction          Payment pursuant to order (Doc 115)                      *                             $2,527.50           $69,196.90
                               Company
                                                                                               $(2,100.00)      3610-000                                              $69,196.90
                                                                                                    $(427.50)   3620-000                                              $69,196.90
10/30/2020                     Independent Bank            Account Analysis Charge                              2600-000                           $103.57            $69,093.33
04/13/2021           3003      Williams Overman            Payment pursuant to order (Doc 133)                  3410-000                          $4,805.00           $64,288.33
                               PierceLLP

                                                                  TOTALS:                                                        $79,415.90      $15,127.57           $64,288.33
                                                                      Less: Bank transfers/CDs                                        $0.00           $0.00
                                                                  Subtotal                                                       $79,415.90      $15,127.57
                                                                      Less: Payments to debtors                                       $0.00           $0.00
                                                                  Net                                                            $79,415.90      $15,127.57


  For the period of 6/4/2019 to 4/13/2021                                              For the entire history of the account between 06/02/2020 to 4/13/2021

  Total Compensable Receipts:                             $79,415.90                   Total Compensable Receipts:                                      $79,415.90
  Total Non-Compensable Receipts:                              $0.00                   Total Non-Compensable Receipts:                                       $0.00
  Total Comp/Non Comp Receipts:                           $79,415.90                   Total Comp/Non Comp Receipts:                                    $79,415.90
  Total Internal/Transfer Receipts:                            $0.00                   Total Internal/Transfer Receipts:                                     $0.00


  Total Compensable Disbursements:                        $15,127.57                   Total Compensable Disbursements:                                 $15,127.57
  Total Non-Compensable Disbursements:                         $0.00                   Total Non-Compensable Disbursements:                                  $0.00
  Total Comp/Non Comp Disbursements:                      $15,127.57                   Total Comp/Non Comp Disbursements:                               $15,127.57
  Total Internal/Transfer Disbursements:                       $0.00                   Total Internal/Transfer Disbursements:                                $0.00
                                      Case 19-80399            Doc 136 Filed 05/05/21                        Page 6 of 14                              Page No: 2
                                                                 FORM 2                                                                            Exhibit B
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         19-80399                                                                 Trustee Name:                            James B. Angell
Case Name:                       JOE SANDERFORD AND SON LOGGING, INC.                                     Bank Name:                               Independent Bank
Primary Taxpayer ID #:           **-***9284                                                               Checking Acct #:                         ******0399
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:            6/4/2019                                                                 Blanket bond (per case limit):           $1,000,000.00
For Period Ending:               4/13/2021                                                                Separate bond (if applicable):

      1                 2                    3                                  4                                            5                 6                    7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement             Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $




                                                                                                                                                NET              ACCOUNT
                                                                         TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE             BALANCES

                                                                                                                        $79,415.90         $15,127.57            $64,288.33




 For the period of 6/4/2019 to 4/13/2021                                            For the entire history of the case between 06/04/2019 to 4/13/2021

 Total Compensable Receipts:                           $79,415.90                   Total Compensable Receipts:                                    $79,415.90
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                     $0.00
 Total Comp/Non Comp Receipts:                         $79,415.90                   Total Comp/Non Comp Receipts:                                  $79,415.90
 Total Internal/Transfer Receipts:                          $0.00                   Total Internal/Transfer Receipts:                                   $0.00


 Total Compensable Disbursements:                      $15,127.57                   Total Compensable Disbursements:                               $15,127.57
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                                $0.00
 Total Comp/Non Comp Disbursements:                    $15,127.57                   Total Comp/Non Comp Disbursements:                             $15,127.57
 Total Internal/Transfer Disbursements:                     $0.00                   Total Internal/Transfer Disbursements:                              $0.00




                                                                                                     /s/ JAMES B. ANGELL
                                                                                                     JAMES B. ANGELL
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                                                                                              CLAIM ANALYSIS REPORT                                      Page No: 1                Exhibit C


  Case No.                      19-80399                                                                                                 Trustee Name:           James B. Angell - Middle District of
  Case Name:                    JOE SANDERFORD AND SON LOGGING, INC.                                                                     Date:                   NC
                                                                                                                                                                 4/13/2021
  Claims Bar Date:

 Claim               Creditor Name          Claim           Claim Class             Claim       Uniform     Scheduled     Claim       Amount        Amount        Interest          Tax           Net
  No.:                                      Date                                    Status     Tran Code     Amount      Amount       Allowed        Paid                                      Remaining
                                                                                                                                                                                                Balance

      1   FALCON LEASING                  06/24/2019   Pers. Prop. &                Allowed     4210-000         $0.00   $60,271.38   $60,271.38         $0.00         $0.00          $0.00     $60,271.38
                                                       Intangibles--Consens
                                                       ual Liens (UCC,
                                                       chattel, PMSI)
         A Division of Falcon National
         Bank
         28 11th Ave South
         Cloud MN 56301
Claim Notes: Claim on property secured by an asset the Trustee will no administer
      2   THOMAS TIRE                     06/25/2019   General Unsecured §          Allowed     7100-000         $0.00    $4,984.36    $4,984.36         $0.00         $0.00          $0.00      $4,984.36
          COMMERCIAL & OFF                             726(a)(2)
          ROAD
          P.O. Box 2917
          Asheboro NC 27204
      3   CITIZENS BANK N.A.              06/27/2019   Pers. Prop. &                Allowed     4210-000         $0.00   $13,545.14   $13,545.14         $0.00         $0.00          $0.00     $13,545.14
                                                       Intangibles--Consens
                                                       ual Liens (UCC,
                                                       chattel, PMSI)
         One Citizens Bank Way JCA115
         Johnston RI 02919
Claim Notes: Claim on property secured by an asset the Trustee will no administer

                 secured by 2010 GMC Yukon
      4   CENTRAL CAROLINA              06/27/2019     General Unsecured §          Allowed     7100-000         $0.00      $766.95     $766.95          $0.00         $0.00          $0.00        $766.95
          POWER                                        726(a)(2)
          EQUIPMENT,INC
           4127 JEFFERSON DAVIS
           HIGHWAY
           SANFORD NC 27332
      5   DIRECT CAPITAL                07/03/2019     General Unsecured §          Allowed     7100-000         $0.00   $78,205.09   $78,205.09         $0.00         $0.00          $0.00     $78,205.09
                                                       726(a)(2)
          C/O CIT Bank
          P.O. Box 7056
          Pasadena CA 91109
      6   HUSSEY OIL CO., LLC             07/12/2019   General Unsecured §          Allowed     7100-000         $0.00    $9,541.76    $9,541.76         $0.00         $0.00          $0.00      $9,541.76
                                                       726(a)(2)
           P.O. Box 1357
           Robbins NC 27325
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                                                                                               CLAIM ANALYSIS REPORT                                                        Page No: 2                 Exhibit C


   Case No.                       19-80399                                                                                                               Trustee Name:               James B. Angell - Middle District of
   Case Name:                     JOE SANDERFORD AND SON LOGGING, INC.                                                                                   Date:                       NC
                                                                                                                                                                                     4/13/2021
   Claims Bar Date:

 Claim                Creditor Name           Claim            Claim Class           Claim         Uniform        Scheduled          Claim           Amount           Amount          Interest          Tax           Net
  No.:                                        Date                                   Status       Tran Code        Amount           Amount           Allowed           Paid                                        Remaining
                                                                                                                                                                                                                    Balance

      7   U.S. BANK NA DBA                 07/16/2019    General Unsecured §        Allowed        7100-000              $0.00       $1,922.65        $1,922.65             $0.00          $0.00          $0.00      $1,922.65
          ELAN FINANCIAL                                 726(a)(2)
          SERVICES
           Bankruptcy Department
           PO Box 108
           Louis MO 63166-0108
      8   SUMITOMO MITSUI                  07/22/2019    Pers. Prop. &             Amended         4210-000              $0.00     $340,000.00            $0.00             $0.00          $0.00          $0.00             $0.00
          FINANCE AND LEASING                            Intangibles--Consens
          COMPANY, LIMIT                                 ual Liens (UCC,
                                                         chattel, PMSI)
         c/o Kye Law Group, P.C.
         201 Old Country Road
         Suite 120
         Melville NY 11747
Claim Notes: Amended by claim 8a
     8a   SUMITOMO MITSUI                  07/22/2019    General Unsecured §        Allowed        7100-000              $0.00      $70,071.50       $70,071.50             $0.00          $0.00          $0.00     $70,071.50
          FINANCE AND LEASING                            726(a)(2)
          COMPANY, LIMIT
           c/o Kye Law Group, P.C.
           201 Old Country Road
           Suite 120
           Melville NY 11747
      9   BOBBY MAIN SR.                   07/26/2019    General Unsecured §        Allowed        7100-000              $0.00       $3,895.00        $3,895.00             $0.00          $0.00          $0.00      $3,895.00
                                                         726(a)(2)
         1200 Flynn McPherson Rd.
         Cameron NC 28326
Claim Notes: Objection to claim filed 6/2/2020 (Doc 91); Order sustaining objection entered 11/17/2020 (Doc 118) - allowed as a timely-filed general unsecured claim in the amount of $3,895.00

                  (9-1) services & parts
     10   INTERNAL REVENUE                 09/03/2019    Claims of                  Allowed        5800-000              $0.00         $152.81          $152.81             $0.00          $0.00          $0.00        $152.81
          SERVICE                                        Governmental Units
           P.O. Box 7346
           Philadelphia PA 19101-7346
    10a   INTERNAL REVENUE                 09/03/2019    Fines, Penalties §         Allowed        7300-000              $0.00         $810.69          $810.69             $0.00          $0.00          $0.00        $810.69
          SERVICE                                        726(a)(4)
           P.O. Box 7346
           Philadelphia PA 19101-7346
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   Case No.                      19-80399                                                                                                      Trustee Name:           James B. Angell - Middle District of
   Case Name:                    JOE SANDERFORD AND SON LOGGING, INC.                                                                          Date:                   NC
                                                                                                                                                                       4/13/2021
   Claims Bar Date:

 Claim                Creditor Name         Claim           Claim Class           Claim        Uniform       Scheduled          Claim       Amount        Amount        Interest          Tax           Net
  No.:                                      Date                                  Status      Tran Code       Amount           Amount       Allowed        Paid                                      Remaining
                                                                                                                                                                                                      Balance

     11   401 WEST VALLEY AVE             09/06/2019   General Unsecured §       Allowed       7100-000             $0.00       $8,523.88    $8,523.88         $0.00         $0.00          $0.00      $8,523.88
                                                       726(a)(2)
          PO Box 10566
          401 West Valley Ave, N/A
          Birmingham AL 35296
     12   RUFUS L. JOHNSON SR.            09/18/2019   General Unsecured §       Allowed       7100-000             $0.00         $675.00     $675.00          $0.00         $0.00          $0.00        $675.00
                                                       726(a)(2)
           126 South Chatham Avenue
           Siler City NC 27344
   2100   JAMES B. ANGELL                 11/09/2020   Trustee                   Allowed       2100-000             $0.00       $7,220.79    $7,220.79         $0.00         $0.00          $0.00      $7,220.79
                                                       Compensation
   2200   JAMES B. ANGELL                 11/09/2020   Trustee Expenses          Allowed       2200-000             $0.00         $333.36     $333.36          $0.00         $0.00          $0.00        $333.36
   3110   HOWARD, STALLINGS,              10/27/2020   Attorney for Trustee      Allowed       3110-000             $0.00      $11,654.00   $11,654.00         $0.00         $0.00          $0.00     $11,654.00
          FROM, ATKINS, ANGELL                         Fees (Trustee Firm)
          & DAVIS, PA
   3120   HOWARD, STALLINGS,              11/09/2020   Attorney for Trustee      Allowed       3120-000             $0.00          $15.75      $15.75          $0.00         $0.00          $0.00         $15.75
          FROM, ATKINS, ANGELL                         Expenses (Trustee
          & DAVIS, PA                                  Firm)
   3410   WILLIAMS OVERMAN                11/09/2020   Accountant for            Allowed       3410-000             $0.00       $4,805.00    $4,805.00     $4,805.00         $0.00          $0.00             $0.00
          PIERCELLP                                    Trustee Fees (Other
                                                       Firm)
           c/o Edward Golden
           2501 Atrium Dr, Suite 500
           Raleigh NC 27607
   3610   IRON HORSE AUCTION              10/12/2020   Auctioneer for            Allowed       3610-000             $0.00       $2,100.00    $2,100.00     $2,100.00         $0.00          $0.00             $0.00
          COMPANY                                      Trustee Fees
                                                       (including buyers
                                                       premiums)
         c/o Chris Crawford
         174 Airport Rd
         Rockingham NC 28379
Claim Notes: Payment of fees in the amount of $2,100.00 & reimbursement of expenses in the amount of $427.50 pursuant to order (Doc 115)
   3610   IRON HORSE AUCTION              07/09/2020   Auctioneer for            Allowed       3610-000             $0.00       $6,000.00    $6,000.00     $6,000.00         $0.00          $0.00             $0.00
          COMPANY                                      Trustee Fees
                                                       (including buyers
                                                       premiums)
         c/o Chris J. Crawford
         P.O. Box 1267
         Rockingham NC 28380
Claim Notes: Payment on fees pursuant to order doc 97 - Sale of real property
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                                                                                            CLAIM ANALYSIS REPORT                                                 Page No: 4                Exhibit C


   Case No.                      19-80399                                                                                                       Trustee Name:             James B. Angell - Middle District of
   Case Name:                    JOE SANDERFORD AND SON LOGGING, INC.                                                                           Date:                     NC
                                                                                                                                                                          4/13/2021
   Claims Bar Date:

 Claim                Creditor Name          Claim           Claim Class           Claim         Uniform      Scheduled        Claim        Amount         Amount          Interest          Tax           Net
  No.:                                       Date                                  Status       Tran Code      Amount         Amount        Allowed         Paid                                        Remaining
                                                                                                                                                                                                         Balance

   3620 IRON HORSE AUCTION            07/09/2020 Auctioneer for                  Allowed        3620-000           $0.00       $1,500.00      $1,500.00     $1,500.00           $0.00          $0.00             $0.00
        COMPANY, INC.                              Trustee Expenses
         c/o Chris J. Crawford
         P.O. Box 1267
         Rockingham NC 28380
Claim Notes: Payment on advertising expenses pursuant to order doc 97 - Sale of real property
   3620 IRON HORSE AUCTION             10/12/2020 Auctioneer for              Allowed        3620-000              $0.00          $427.50      $427.50          $427.50         $0.00          $0.00             $0.00
        COMPANY                                     Trustee Expenses
         c/o Chris Crawford
         174 Airport Rd
         Rockingham NC 28379
Claim Notes: Payment of fees in the amount of $2,100.00 & reimbursement of expenses in the amount of $427.50 pursuant to order (Doc 115)
   3621   INDEPENDENT BANK                11/09/2020   Bank and Technology        Allowed       2600-000           $0.00         $295.07          $0.00         $295.07         $0.00          $0.00             $0.00
                                                       Services Fees
                                                                                                                             $627,717.68    $287,422.61    $15,127.57           $0.00          $0.00    $272,590.11
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                                                                             CLAIM ANALYSIS REPORT                                              Page No: 5                 Exhibit C


Case No.                      19-80399                                                                                      Trustee Name:               James B. Angell - Middle District of
Case Name:                    JOE SANDERFORD AND SON LOGGING, INC.                                                          Date:                       NC
                                                                                                                                                        4/13/2021
Claims Bar Date:


      CLAIM CLASS SUMMARY TOTALS

                                             Claim Class                         Claim         Amount         Amount                 Interest                Tax                  Net
                                                                                Amount         Allowed         Paid                                                            Remaining
                                                                                                                                                                                Balance


           Accountant for Trustee Fees (Other Firm)                              $4,805.00       $4,805.00      $4,805.00                   $0.00                  $0.00                 $0.00

           Attorney for Trustee Expenses (Trustee Firm)                            $15.75          $15.75          $0.00                    $0.00                  $0.00                $15.75

           Attorney for Trustee Fees (Trustee Firm)                             $11,654.00      $11,654.00         $0.00                    $0.00                  $0.00          $11,654.00

           Auctioneer for Trustee Expenses                                       $1,927.50       $1,927.50      $1,927.50                   $0.00                  $0.00                 $0.00

           Auctioneer for Trustee Fees (including buyers premiums)               $8,100.00       $8,100.00      $8,100.00                   $0.00                  $0.00                 $0.00

           Bank and Technology Services Fees                                      $295.07            $0.00       $295.07                    $0.00                  $0.00                 $0.00

           Claims of Governmental Units                                           $152.81         $152.81          $0.00                    $0.00                  $0.00               $152.81

           Fines, Penalties § 726(a)(4)                                           $810.69         $810.69          $0.00                    $0.00                  $0.00               $810.69

           General Unsecured § 726(a)(2)                                       $178,586.19     $178,586.19         $0.00                    $0.00                  $0.00         $178,586.19

           Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel,          $413,816.52      $73,816.52         $0.00                    $0.00                  $0.00          $73,816.52
           PMSI)

           Trustee Compensation                                                  $7,220.79       $7,220.79         $0.00                    $0.00                  $0.00           $7,220.79

           Trustee Expenses                                                       $333.36         $333.36          $0.00                    $0.00                  $0.00               $333.36
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                                                                                             Exhibit D
                            TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:       19-80399
Case Name:      JOE SANDERFORD AND SON LOGGING, INC.
Trustee Name:   James B. Angell

                                                              Balance on hand:                   $64,288.33


       Claims of secured creditors will be paid as follows:

Claim No. Claimant                  Claim Asserted             Allowed           Interim           Proposed
                                                              Amount of       Payments to           Amount
                                                                 Claim              Date
         1 Falcon Leasing                $60,271.38           $60,271.38            $0.00                 $0.00
         3 Citizens Bank N.A.            $13,545.14           $13,545.14            $0.00                 $0.00
         8 Sumitomo Mitsui              $340,000.00                $0.00            $0.00                 $0.00
           Finance and Leasing
           Company, Limit


                                        Total to be paid to secured creditors:                        $0.00
                                                         Remaining balance:                      $64,288.33

       Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                  Total          Interim           Proposed
                                                              Requested       Payments to          Payment
                                                                                    Date
James B. Angell, Trustee Fees                                  $7,220.79            $0.00          $7,220.79
James B. Angell, Trustee Expenses                               $333.36             $0.00            $333.36
Howard, Stallings, From, Atkins, Angell & Davis,              $11,654.00            $0.00         $11,654.00
PA, Attorney for Trustee Fees
Howard, Stallings, From, Atkins, Angell & Davis,                  $15.75            $0.00                $15.75
PA, Attorney for Trustee Expenses
Williams Overman PierceLLP, Accountant for                     $4,805.00         $4,805.00                $0.00
Trustee Fees
Iron Horse Auction Company, Auctioneer for                     $2,100.00         $2,100.00                $0.00
Trustee Fees
Iron Horse Auction Company, Auctioneer for                      $427.50           $427.50                 $0.00
Trustee Expenses
Other: Iron Horse Auction Company, Inc.,                       $6,000.00         $6,000.00                $0.00
Auctioneer for Trustee Fees
Other: Iron Horse Auction Company, Inc.,                       $1,500.00         $1,500.00                $0.00
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Auctioneer for Trustee Expenses


                       Total to be paid for chapter 7 administrative expenses:                   $19,223.90
                                                          Remaining balance:                     $45,064.43

        Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                     Total to be paid to prior chapter administrative expenses:                       $0.00
                                                           Remaining balance:                    $45,064.43

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $152.81 must be paid in advance of any dividend to general (unsecured) creditors.

        Allowed priority claims are:

Claim No. Claimant                                        Allowed Amt.           Interim            Proposed
                                                               of Claim       Payments to           Payment
                                                                                    Date
         10 Internal Revenue Service                             $152.81              $0.00           $152.81


                                            Total to be paid to priority claims:                    $152.81
                                                           Remaining balance:                    $44,911.62

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $178,586.19 have been allowed and will
be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 25.1 percent, plus interest (if applicable).

        Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                        Allowed Amt.           Interim            Proposed
                                                               of Claim       Payments to            Amount
                                                                                    Date
          2 Thomas Tire Commercial & Off Road                  $4,984.36              $0.00         $1,253.49
          4 CENTRAL CAROLINA POWER                               $766.95              $0.00           $192.88
            EQUIPMENT,INC
          5 Direct Capital                                    $78,205.09              $0.00        $19,667.35
          6 Hussey Oil Co., LLC                                $9,541.76              $0.00         $2,399.60
          7 U.S. Bank NA dba Elan Financial                    $1,922.65              $0.00           $483.52
            Services
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         8a Sumitomo Mitsui Finance and Leasing              $70,071.50              $0.00        $17,621.88
            Company, Limit
          9 Bobby Main Sr.                                    $3,895.00              $0.00           $979.53
         11 401 West Valley Ave                               $8,523.88              $0.00         $2,143.62
         12 Rufus L. Johnson Sr.                                $675.00              $0.00           $169.75


                          Total to be paid to timely general unsecured claims:                   $44,911.62
                                                          Remaining balance:                          $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

        Tardily filed general (unsecured) claims are as follows: NONE



                    Total to be paid to tardily filed general unsecured claims:                       $0.00
                                                           Remaining balance:                         $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $810.69 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows:

Claim No. Claimant                                       Allowed Amt.           Interim            Proposed
                                                              of Claim       Payments to            Amount
                                                                                   Date
       10a Internal Revenue Service                             $810.69              $0.00              $0.00


                                     Total to be paid for subordinated claims:                        $0.00
                                                           Remaining balance:                         $0.00
